244 F.2d 954
    Bernard J. MALONE, as Trustee in Bankruptcy of Little Falls Dairy Company, Inc., Plaintiff-Appellant,v.Moe BOLSTEIN and David Gimpel, Defendants-Appellees.
    No. 203.
    Docket 24323.
    United States Court of Appeals Second Circuit.
    Argued March 6, 1957.
    Decided March 28, 1957.
    
      Appeal from the United States District Court for the Northern District of New York; Stephen W. Brennan, Judge.
    
    
      1
      Trustee in bankruptcy appeals from judgment dismissing his complaint seeking to recover a payment by the bankrupt as a voidable preference under Section 60 of the Bankruptcy Act, 11 U.S. C.A. § 96.
    
    
      2
      James A. McTiernan, Little Falls, N. Y., for plaintiff-appellant.
    
    
      3
      Bartle Gorman, Utica, N. Y. (J. Walter Augar, Utica, N. Y., on the brief), for defendant-appellee.
    
    
      4
      Before MEDINA and WATERMAN, Circuit Judges, and GALSTON, District Judge.
    
    
      5
      PER CURIAM.
    
    
      6
      Affirmed on the opinion of Judge Brennan, D.C., 151 F.Supp. 544.
    
    